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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORI(
------------------------------------------------------------------)(
CHARLES V VACCARO,
                                                                        07 Civ. 6793 (DLC)
                                    Plaintiff,
                                                                        NOTICE OF APPEARANCE
         -against-

THE BANK OF NEW YORK COMPANY, INC.,

                                    Defendant.

------------------------------------------------------------------)(

         PLEASE TAKE NOTICE that the Law Offices of Paul l Giacomo, Jf. has been

retained as attorneys for the Plaintiff CHARLES V VACCARO and hereby appears on his

behalf in the above-captioned action, and demands that all further papers in the above entitled

action be served upon the attorneys at their offices located at 405 Le)(ington Avenue, 37'h Floor,

New York, New York 10174.

Dated New York, New York
      December 7, 2007
                                                      Yours, etc.

                                                      LAW OFFICES OF PAUL l GIACOMO, JR


                                                      By~e(PG8774)

To       Sharon A Parella
         Jennifer Frattini
         White & Case LLP
         1155 Avenue of the Americas
         New York, New York 10036
         Telephone (212) 819-8200
         Attorneys for Defendant
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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Plaintiff's Notice of

Appearance was served via first class mail, postage prepaid, this   7'h day of December,
2007 upon the following:


       Sharon A. Parella
       Jennifer Frattini
       White & Case LLP
       1155 Avenue of the Americas
       New York, New York 10036


       On the same 7th day of December, 2007, I electronically filed the foregoing

Plaintiff s Notice of Appearance with the Clerk of the District Court using the CMlECF

system, which sent additional notification of such filing to counsel for the Defendant.
